Case 3:21-cr-00004-TCB-RGV Document 6-1 Filed 03/22/21 Page 1 of 1

FILED IN OPEN COURT

U.S.D.C. - Atlanta

LS. Repartnent at fstice MAR 2 2 2021

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EN, Clerk

By:

[IN THE UNITED STATES DISTRICT COURT Sepp Gos
FOR THE NORTHERN DISTRICT OF GEORGIA

PLEA (With Counsel)

CRIMINAL NQ. 3:21-cr-00004

i, Robert Purbeck, defendant, having received a copy of the within
indictment, and having been arraigned, plead Not Guilty thereto to counts |
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through it thereal,

In Open Court this 22nd day of March 2021.

fC GOK S. ff

SAATURM Thelonse Attorney) —«_

  
 

   

S Selense Attorney) SIGNATURE (Defendant)
Andrew C. Hall Robert Purbeck

tfatl Hirsh Hughes, LLC

Suite 450

§50 Fast Ponce de Leon Avenue

Decatur, Georgia 30030

Phone: 404-635-5880

Bar Nun ther: SL 8025

Filed in Open Court by:

(Signature) Date

Form No. US A-40-10-1

NLP Lon EPZBZ be
